      Case 1-20-40794-nhl             Doc 337       Filed 03/15/23     Entered 03/15/23 16:04:13




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:                                                          :
                                                                 : Chapter 11
 3052 Brighton First, LLC,                                       :
                                                                 : Case No. 20-40794 (NHL)
                            Debtor.                              :
                                                                 :
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                  ORDER DIRECTING APPEARANCE OF CHAIM MILLER
                       AT ADJOURNED 2004 EXAMINATION HEARING

       WHEREAS, on February 6, 2020, 3052 Brighton First, LLC (the “Debtor”), by and
through counsel, filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code; and

       WHEREAS, on January 31, 2023, a motion was filed on behalf of JEST Holdings, LLC
(“JEST”), seeking, inter alia, an examination and production of documents of the Debtor,
Rosenberg Musso & Weiner, LLP, and Chaim Miller, pursuant to Rule 2004 of the Federal Rules
of Bankruptcy Procedure; and

       WHEREAS, on March 14, 2023, a hearing was held before the Court via Zoom (the
“Hearing”), at which appeared David Y Wolnerman, Esq. (Counsel to JEST), Bruce Weiner, Esq.
(Counsel to Debtor), Rachel Wolf, Esq. (US Trustee), Daniel N. Zinman, Esq. (Counsel to 203-
205 8th Street LLC and North 8th Investor LLC), and Joel Shafferman, Esq. (Special Counsel to
Debtor), and no appearance was made by or on behalf of Chaim Miller;

       NOW, THEREFORE, upon the record of the case, which is incorporated herein by
reference, it is hereby

      ORDERED, that the Hearing is adjourned to March 28, 2023 at 11:30a.m. (the
“Adjourned Hearing”); and it is further

       ORDERED, that Chaim Miller is directed to appear at the Adjourned Hearing on March
28, 2023 at 11:30 a.m., which shall be held using the Zoom platform; and it is further

        ORDERED, that all participants (including attorneys and clients) shall register their
appearances through the Court’s eCourt Appearances program, by following the instructions set
forth on the Court’s website, at https://www.nyeb.uscourts.gov/content/judge-nancy-hershey-lord.
Once registered, an e-mail generated by eCourt Appearances with the Zoom dial-in number and
video link for the hearing will be sent to each registrant prior to the hearing; and it is further




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        ORDERED, that the Clerk of the Court serve a copy of this Order upon the annexed
service list.




 Dated: March 15, 2023                                   ____________________________
        Brooklyn, New York                                     Nancy Hershey Lord
                                                          United States Bankruptcy Judge

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